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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    :
 UNITED STATES OF AMERICA,                          :
                                                    :          18cr602
                -against-                           :
                                                    :          ORDER
 MICHAEL COHEN,                                     :
                                                    :
                                Defendant.          :
                                                    :

WILLIAM H. PAULEY III, Senior United States District Judge:

               This Court has reviewed the Government’s status report submitted ex parte and

under seal on May 15, 2019 pursuant to this Court’s February 7, 2019 Opinion & Order. In view

of the ongoing aspects of the Government’s investigation articulated in the Government’s status

report, this Court determines that continued redaction of the Materials is justified at this juncture.

               The Government is directed to submit a further status report, ex parte and under

seal, by July 15, 2019 identifying the individuals or entities subject to any ongoing investigations

and explaining any need for continued redaction. If any intervening event obviates the need for

continued redactions, the Government shall advise this Court forthwith.

Dated: May 21, 2019
       New York, New York


                                                        SO ORDERED:


                                                        _______________________________
                                                             WILLIAM H. PAULEY III
                                                                     U.S.D.J.
